Case 5:07-cr-50106-DEW-MLH   Document 71   Filed 05/22/09   Page 1 of 5 PageID #:
                                   275
Case 5:07-cr-50106-DEW-MLH   Document 71   Filed 05/22/09   Page 2 of 5 PageID #:
                                   276
Case 5:07-cr-50106-DEW-MLH   Document 71   Filed 05/22/09   Page 3 of 5 PageID #:
                                   277
Case 5:07-cr-50106-DEW-MLH   Document 71   Filed 05/22/09   Page 4 of 5 PageID #:
                                   278
Case 5:07-cr-50106-DEW-MLH   Document 71   Filed 05/22/09   Page 5 of 5 PageID #:
                                   279
